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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

UNITED STATES OF AMERICA                    )
                                            )
v.                                          )   No. 3:19-cr-083-M-1
                                            )   Chief Judge Barbara M. G. Lynn
RUEL M. HAMILTON                            )
                                            )




                          MR. HAMILTON’S EXHIBIT LIST




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                         Counsel for Defendant Ruel M. Hamilton
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 Ex. #                Document Description                    Offered      Admitted

D-0001   Photo of 4547 Utah Ave., Dallas, TX


D-0002   Photo of 824 Oxbow Lane, Dallas TX


D-0003   Photo of 1914 Windchime Dr., Dallas, TX


D-0004   12/15/2016 - DISD Board meeting minutes


D-0005   1/18/2017 - “Doing More in District 4” Award

         1/18/2017 - Video “Doing More in District 4”
D-0006
         Award

         2/8/2018 - Susan B. Anthony Award - League of
D-0007
         Women Voters of Dallas

D-0008   2/8/2018 - Susan B. Anthony Award Video


D-0009   2/8/2018 - Susan B. Anthony Award Photo


         6/15/2018 – Support For Minority Candidates
D-0010
         Award

         Summary chart of Ruel Hamilton’s campaign
D-0011
         contributions

D-0012   Campaign contributions - FEC data

         Campaign contributions - TX Ethics Commission
D-0013
         Spreadsheet

D-0014   Campaign contributions - check images


D-0015   Summary chart of Amerisouth real estate properties


D-0016   Supporting documents for property chart




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 Ex. #                 Document Description                  Offered      Admitted

D-0017   Bachman Glen property photos

         Bachman Glen property photos
D-0018
         (construction ~ Mar. 2004 - Mar. 2005)

D-0019   Eastfield property photos

         Eastfield property photos
D-0020
         (construction ~ Oct. 2000 - Oct. 2001)

D-0021   La Ventana property photos

         La Ventana property photos
D-0022
         (construction ~ Jan. 2002 - Jan. 2004)

         8/29/2014 - $1,905,000 Promissory Note from
D-0023
         Southwest Bank.

D-0038   11/25/2013 – Video of FRT bus


         12/4/2013 - Dallas Morning News article, “Freedom
D-0039
         Rides inspire teens”

D-0049   FRT Book - 9/26/2014


D-0050   FRT Book - 9/25/2014 – 9/26/2014


D-0086   Amerisouth consulting fees


D-0087   C. Davis’s 2015-2018 Form-1099s


D-0088   Bonnie View renderings for proposed renovations


D-0089   12/13/2016 – Invoice from Joseph Anthony


D-0090   2016/2017 - Photos TBAAL gala

         7/16/2018 and 8/2/2018 text messages between
D-0091
         Chris Hamilton and Philip Kingston


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 Ex. #                 Document Description                 Offered      Admitted
         8/1/2018–8/15/2018 text messages between Chris
D-0092
         Hamilton and Kimberly Olsen

D-0093   8/1/2018 – Video of paid sick leave rally

         8/22/2018 check from Ruel Hamilton to Texas
D-0094
         Organizing Project (TOP) PAC for $25,000

         11/18/2013 email from Ruel Hamilton to Carolyn
D-0114
         Davis

         11/22/2013 email from Renita Griggs to Ruel
D-0115
         Hamilton

         10/20/2014 email forwarded from Renita Griggs to
D-0116
         Ruel Hamilton

         11/19/2014 email from Renita Griggs to Ruel
D-0117
         Hamilton

         12/3/2014 email from Carolyn Davis to Ruel
D-0118
         Hamilton and others

         3/10/2015 email from Renita Griggs to Ruel
D-0119
         Hamilton and others

         3/31/2015 email from Renita Griggs to Ruel
D-0120
         Hamilton and others

         4/15/2015 email from Renita Griggs to Ruel
D-0121
         Hamilton and others

         5/22/2015 email from Renita Griggs to Ruel
D-0122
         Hamilton and others

         5/28/2015 email forwarded from John Hamilton to
D-0123
         Ruel Hamilton

         10/7/2015 email from Carolyn Davis to Ruel
D-0124
         Hamilton

D-0125   3/27/2016 Facebook email notice


D-0126   6/7/2016 Facebook email notice




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  Ex. #                   Document Description                      Offered            Admitted
             1/11/2017 letter from Amerisouth to Director of
 D-0127
             Sustainable Development and Construction

 D-0128      01/2015 - Photo from MLK Day Parade


Dated: October 26, 2020

                                        Respectfully submitted,

/s/ Abbe David Lowell
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                               Counsel for Defendant Ruel M. Hamilton




                                   CERTIFICATE OF SERVICE

          I certify that on October 26, 2020, a copy of the foregoing was filed with the Court’s

electronic case filing system, thereby effecting service on counsel for all parties.

                                         /S/Abbe David Lowell
                                         Abbe David Lowell




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